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 8                            UNITED STATES DISTRICT COURT
 9                          SOUTHERN DISTRICT OF CALIFORNIA
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11    STRATEGIC OPERATIONS, INC.,                        Case No.: 17-CV-01539-JLS-WVG
12                                      Plaintiff,
                                                         ORDER FOLLOWING JOINT
13    v.                                                 STATUS CONFERENCE
14    BREA K. JOSEPH, an individual;
      KASEY EROKHIN, an individual; KBZ
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      FX, INC., an unknown business entity,
16    and KBZ FX, INC., a California
      corporation,
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                                     Defendants.
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           On September 6, 2019, this Court convened a joint status conference pursuant to its
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     September 4, 2019 order (Doc. No. 46). Having heard the Parties’ positions and efforts to
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     resolve this case, the Court hereby ORDERS the Parties to file a modified joint discovery
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     plan no later than 5:00 P.M. on September 9, 2019. Thereafter, the Parties shall
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     telephonically appear for a joint status conference or, alternatively, a case management
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     conference on September 11, 2019 at 2:00 P.M. to further coordinate this action. To that
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     end, counsel for the Parties shall electronically lodge their appearances and the telephones
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     numbers at which they can be reached without fail no later than 12:00 P.M. on September
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                                                                              17-CV-01539-JLS-WVG
     Case 3:17-cv-01539-JLS-WVG Document 48 Filed 09/06/19 PageID.534 Page 2 of 2


 1   10, 2019. IT IS SO ORDERED.
 2   Dated: September 6, 2019
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